                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

JUSTIN TYLER LEONARD,                           )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )
                                                )
NABER SUBWAY, INC.,                             )
                                                )
        Serve: Gary Naber,                      )      Case No. _____________
                                                                 7:18CV566
             Registered Agent,                  )
             196 Queens Knob                    )
             Wytheville, VA 24382               )
                                                )
and                                             )
                                                )
DOCTOR’S ASSOCIATES, INC.                       )
d/b/a SUBWAY IP, INC.,                          )
d/b/a SUBWAY                                    )
                                                )      JURY TRIAL DEMAND
        Serve: Robert A. Payne,                 )
             Registered Agent                   )
             11320 Random Hills Rd,             )
             Suite 690                          )
             Fairfax, VA 22030                  )
                                                )
        Defendants.                             )

                                     COMPLAINT

        COMES NOW, Plaintiff Justin Tyler Leonard, by counsel, and states as his

Complaint against Naber Subway, Inc. (“Naber Subway”) and Doctor’s Associates, Inc.

d/b/a Subway IP, Inc., d/b/a Subway (“DA”), the following:


                             I. Jurisdiction and Venue

        1.    The Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1331, as Mr. Leonard has suffered discrimination and retaliation, in violation of

federal law, pursuant to the Genetic Information Nondiscrimination Act of 2008, as



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codified under 42 U.S.C. §§ 2000ff, et seq. (“GINA”) and a failure to accommodate,

discrimination, and retaliation, in violation of by the Americans with Disabilities Act, as

codified under 42 U.S.C. §§ 12101, et seq (“ADA”).

       2.     Mr. Leonard is a resident of Bland County, Virginia.

       3.     Naber Subway is a corporation incorporated under the laws of the

Commonwealth of Virginia and maintains its principal place of business in Wythe County,

Virginia.

       4.     DA is a corporation incorporated under the laws of the State of Connecticut

with a principal place of business in the State of Connecticut. DA has extensive business

contacts within the Commonwealth of Virginia and derives significant revenue from its

operations within Virginia, subjecting it to personal jurisdiction under the Virginia Long

Arm Statute, Va. Code Ann. § 8.01-328.1.

       5.     Venue is proper in this Court as a substantial portion of the acts and/or

omissions that gave rise to Mr. Leonard’s claims occurred in Bland County, Virginia,

which is within the geographic bounds of this District. See 28 U.S.C. § 1391(b)(2); Western

District of Virginia Local Rule 2(a)(7).

       6.     Mr. Leonard timely filed a Charge of Discrimination with the EEOC. Upon

exhausting his administrative remedies, Mr. Leonard received a Notice of Right to Sue, a

true and accurate copy of which is attached hereto as EXHIBIT A.

                                           II. Facts

       7.     At all times relevant to this Complaint, Mr. Leonard’s direct supervisor was

Gary Naber, owner of Naber Subway.

       8.     Mr. Naber is a franchisee of two Subway locations directly from DA, located

in Bland and also Wytheville, Virginia.



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      9.       Upon information and belief, at least fifteen (15) employees are employed

by Naber Subway within seventy-five (75) miles of the Bland, Virginia Subway location.

      10.      During his time at Naber and DA, Mr. Leonard performed his job duties

competently.

      11.      At the beginning of his employment, management did not find fault with

Mr. Leonard’s ability to prepare Subway sandwiches correctly and in a timely manner.

Mr. Leonard’s immediate supervisor was the scheduled shift leader on that given day.

Shortly after Mr. Leonard began working at Naber and DA, his shift leaders would praise

Mr. Leonard for quickly learning how to make Subway sandwiches and interact positively

with customers.

      12.      Ultimately, only Mr. Naber held the authority to hire and terminate Mr.

Leonard’s employment.

      13.      At all times relevant to this Complaint, Mr. Leonard was under the age of

eighteen (18).

      14.      DA provides significant training and oversight of its franchisees.

      15.      Upon information and belief, DA sets requirements for its franchisee’s

businesses, such as participation in charitable acts related to nutrition of lower income

individuals and training and oversight requirements of Sandwich Artists, who are those

individuals that actually create sandwiches and serve customers, and other supervisory

employees.

      16.      Further, DA requires that franchisees purchase food products, restaurant

equipment, and marketing material exclusively from DA. Such food products are the

items in which Naber Subway and DA gain a significant portion of their revenue.




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                       Mr. Leonard Suffers From A Disability

       17.     Mr. Leonard constantly received praise and regularly worked a significant

number of hours per week.

       18.     Mr. Leonard was diagnosed with mild Cerebral Palsy (“CP”) at age 13, but

likely had the condition since birth.

       19.     CP is a brain injury or malformation that occurs prior to or at birth. CP is a

chronic, permanent condition that affects major life activities, such as walking, talking, or

thinking, due to loss of body movement control, muscle control, muscle coordination,

muscle tone, reflex, posture and balance.

       20.     CP can also impact fine motor skills, gross motor skills and oral motor

functioning.

       21.     There is also a known genetic component that increases the risk that an

individual will be born with CP. Stress greatly increases the symptoms of CP. This health

issue is a recognized disability under the Americans with Disabilities Act (“ADA”).

       22.     Mr. Leonard was able to perform his employment functions with few

accommodations.

       23.     Alternatively, Mr. Leonard was regarded as disabled by Mr. Naber, Naber

Subway, and DA.

        Mr. Leonard Suffers ADA and GINA Retaliation For Opposing
         Discrimination And Retaliation Taken Against Mr. Leonard

       24.     On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Mr. Leonard worked.

       25.     Bland County, in which the town of Bland is located, has a total population

of approximately 7,000 people.




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         26.   On or about that day, Mr. Naber had become aware that Mr. Leonard had

mild CP. Mr. Naber, without warning, summoned Mr. Leonard into the dining room of

the Bland Subway restaurant from behind the sandwich station.

         27.   In front of customers, Mr. Naber loudly exclaimed, “[Tyler], I hear you have

[CP].”

         28.   In Bland, because it is such a small community, Mr. Leonard’s disability

became widely known at that time, when it previously was not known or widely known in

the community.

         29.   After this incident with Mr. Naber, Mr. Leonard began to receive

unwarranted verbal and written warnings about his job performance.

         30.   Upon information and belief, Mr. Naber directed supervisory employees to

target Mr. Leonard due solely to Mr. Leonard’s disability.

         31.   Upon information and belief, Mr. Leonard’s disability, once known, made

him a target for discrimination because he was “different,” due to living in a small

community.

         32.   On or about February 1, 2017, Mr. Leonard’s shift leader accused Mr.

Leonard of incorrectly preparing the bread used in the restaurant.

         33.   Mr. Leonard had not received this accusation before the incident with Mr.

Naber on or about January 30. Mr. Leonard showed the shift leader that, in fact, the bread

had been made according to DA guidelines.

         34.   Regardless, Mr. Leonard received an undeserved verbal warning for this

incident.

         35.   On or about February 5, 2017, a customer asked for a different type of

sandwich after the customer placed his or her order.



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       36.    The shift leader accused Mr. Leonard of not “fixing the sandwich right” and

sent Mr. Leonard home before the end of his scheduled shift. The shift leader’s decision

to send Mr. Leonard home early for allegedly making one incorrect sandwich was a far

more severe punishment than Sandwich Artists would ordinarily receive.

       37.    Finally, on or about February 11, 2017, the Bland Subway restaurant was

particularly busy.

       38.    Mr. Leonard prepared sandwiches within an acceptable amount of time. Mr.

Leonard, due to his disability, is not always able to make sandwiches as quickly as others,

particularly in stressful situations.

       39.    However, the time Mr. Leonard took to prepare sandwiches that day did not

significantly impair the operation of the restaurant. The shift leader accused Mr. Leonard

of “not doing his job fast enough.”

       40.    As a result, Mr. Leonard received an undeserved written warning. Mr.

Leonard was also told that he would have to take a test and receive a perfect score on the

test to continue to work at the Bland Subway restaurant.

       41.    Mr. Leonard did not receive a perfect score. Upon information and belief,

no other Bland Subway employees had to take such a test nor receive such a score.

       42.    On or around February 10, 2017, after suffering indignities and unfounded

disciplinary actions by his supervisors, Mr. Leonard was constructively discharged from

his employment at Naber and DA.

       43.    Mr. Leonard submitted a two-week notice resignation but was terminated

immediately after submitting his notice.

       44.    Mr. Naber, before and after Mr. Leonard’s constructive discharge on or

around February 10, 2017, spoke of Mr. Leonard’s disability with other area business



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employees and expressed his displeasure of hiring Mr. Leonard due to the “potential

liability” resulting from his Cerebral Palsy.

       45.      This retaliation has made it difficult for Mr. Leonard to find gainful, full-

time employment after his resignation.

       46.      Instead, Mr. Leonard has only been able to secure “odd jobs” as a means of

support.

       47.      Naber Subway is responsible for the actions of Gary Naber, Mr. Leonard’s

shift leaders, and others against Mr. Leonard based on the doctrine of respondeat

superior because these actions were taken within the scope of employment.

       48.      The short temporal proximity between the time Mr. Naber knew or

regarded Mr. Leonard as having a disability and his constructive discharge from

employment supports Mr. Leonard’s claims for discrimination and retaliation.

       49.      As a direct and proximate result of Naber Subway’s actions, Mr. Leonard

has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

                                         III. Claims

             Count I: Discrimination and Retaliation in Violation of
                       The Americans with Disabilities Act

       50.      Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.

       51.      Plaintiff is a qualified individual with a disability, to-wit, mild Cerebral

Palsy. Plaintiff was diagnosed with this disability at age 13, but likely had it since at or

before birth.




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         52.   CP is a brain injury or malformation that occurs prior to or at birth. CP is a

chronic, permanent condition that affects major life activities, such as walking, talking, or

thinking, due to loss of body movement control, muscle control, muscle coordination,

muscle tone, reflex, posture and balance.

         53.   CP can also impact fine motor skills, gross motor skills and oral motor

functioning.

         54.   Plaintiff was able to perform the essential functions of his job with or

without accommodation.

         55.   On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Mr. Leonard worked.

         56.   On or about that day, Mr. Naber had become aware that Mr. Leonard had

mild CP. Mr. Naber, without warning, summoned Mr. Leonard into the dining room of

the Bland Subway restaurant from behind the sandwich station.

         57.   In front of customers, Mr. Naber loudly exclaimed, “[Tyler], I hear you have

[CP].”

         58.   Due to Mr. Naber perceiving Mr. Leonard’s CP as a disability, Mr. Naber

had an affirmative duty to inquiry whether Mr. Leonard needed reasonable

accommodations.

         59.   Mr. Naber, nor other supervisory employees at Naber Subway or DA,

inquired whether Mr. Leonard needed accommodation(s) and did not engage in the

interactive process to determine the need for accommodation(s).

         60.   Upon information and belief, Mr. Naber possessed the requisite supervisory

authority over Mr. Leonard, in that Mr. Naber could hire or terminate Mr. Leonard’s

employment. In addition, shift leaders and supervisor employees were able to discipline



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Mr. Leonard and recommend his termination, with such recommendations being

typically followed by Mr. Naber.

       61.    In the alternative, Mr. Naber regarded Mr. Leonard as being disabled.

       62.    After this incident with Mr. Naber, Mr. Leonard began to receive

unwarranted verbal and written warnings about his job performance.

       63.    Upon information and belief, Mr. Naber directed supervisory employees to

target Mr. Leonard due solely to Mr. Leonard’s disability.

       64.    Mr. Leonard was accused of improperly preparing bread by his shift leader.

       65.    Mr. Leonard then received an undeserved verbal warning for this incident.

       66.    Further, on February 1, 2018, the shift leader accused Mr. Leonard of not

“fixing the sandwich right” and sent Mr. Leonard home before the end of his scheduled

shift. The shift leader’s decision to send Mr. Leonard home early for allegedly making one

incorrect sandwich was a far more severe punishment than Sandwich Artists would

ordinarily receive.

       67.    Finally, on or about February 11, 2017, despite the Bland Subway being

particularly busy, Mr. Leonard prepared sandwiches within an acceptable amount of

time. Mr. Leonard, due to his disability, is not always able to make sandwiches as quickly

as others, particularly in stressful situations.

       68.    However, the time Mr. Leonard took to prepare sandwiches that day did not

significantly impair the operation of the restaurant. The shift leader accused Mr. Leonard

of “not doing his job fast enough.”

       69.    As a result, Mr. Leonard received an undeserved written warning. Mr.

Leonard was also told that he would have to take a test and receive a perfect score on the

test to continue to work at the Bland Subway restaurant.



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       70.    On or about February 12, 2017, Mr. Leonard took the test but was

immediately accused of “cheating” by a supervisory employee.

       71.    Upon information and belief, no other Bland Subway employees had to take

such a test nor receive such a score.

       72.    On or around February 12, 2017, after suffering indignities and unfounded

disciplinary actions by his supervisors, Mr. Leonard was constructively discharged from

his employment at Naber and DA.

       73.    Mr. Leonard submitted a two-week notice resignation but was terminated

immediately after submitting his notice.

       74.    Mr. Naber, before and after Mr. Leonard’s constructive discharge on or

around February 12, 2017, spoke of Mr. Leonard’s disability with other area business

employees and expressed his displeasure of hiring Mr. Leonard due to the “potential

liability” resulting from his Cerebral Palsy.

       75.    This retaliation has made it difficult for Mr. Leonard to find gainful, full-

time employment after his resignation.

       76.    Instead, Mr. Leonard has only been able to secure “odd jobs” as a means of

support.

       77.    Naber Subway and DA would not have created an objectively intolerable

working environment, prompting Mr. Leonard’s constructive discharge, nor taken other

discriminatory and retaliatory actions against him but for his disability and/or need for

reasonable accommodations.

       78.     Indeed, Mr. Leonard’s constructive discharge from employment occurred

under circumstances that raise a reasonable inference of unlawful discrimination and

retaliation based upon his disability and/or requests for accommodations.



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         79.   Naber Subway and DA’s working conditions that precipitated Mr.

Leonard’s constructive discharge were pretextual and directly related to Naber Subway

and DA’s intent to discriminate and retaliate against Mr. Leonard due to his disability

and/or need for reasonable accommodations.

         80.    As a direct and proximate result of Naber Subway and DA’s actions, Mr.

Leonard has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

         81.    At all times material hereto, Naber Subway and DA engaged in unlawful or

discriminatory practices with malice or reckless indifference to the federally protected

rights of Mr. Leonard so as to support an award of punitive damages.

         82.    The above-described acts by Naber Subway and DA and employees of

Naber Subway and DA constitute disability discrimination and retaliation in violation of

the ADA.

                 Count II: Failure to Accommodate in Violation of
                       the Americans with Disabilities Act

         83.   Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.

         84.   Plaintiff is a qualified individual with a disability, to-wit, mild Cerebral

Palsy. Plaintiff was diagnosed with this disability at age 13, but like had it since at or before

birth.

         85.   CP is a brain injury or malformation that occurs prior to or at birth. CP is a

chronic, permanent condition that affects major life activities, such as walking, talking, or

thinking, due to loss of body movement control, muscle control, muscle coordination,

muscle tone, reflex, posture and balance.




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         86.   CP can also impact fine motor skills, gross motor skills and oral motor

functioning.

         87.   The impacts of CP, as detailed in Paragraphs 83 and 84 of the Complaint,

are exacerbated, and further complicated, by undue stress.

         88.   Plaintiff was able to perform the essential functions of his job with or

without accommodation.

         89.   On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Mr. Leonard worked.

         90.   On or about that day, Mr. Naber had become aware that Mr. Leonard had

mild CP. Mr. Naber, without warning, summoned Mr. Leonard into the dining room of

the Bland Subway restaurant from behind the sandwich station.

         91.   In front of customers, Mr. Naber loudly exclaimed, “[Tyler], I hear you have

[CP].”

         92.   Upon information and belief, Mr. Naber possessed the requisite supervisory

authority over Mr. Leonard, in that Mr. Naber could hire or terminate Mr. Leonard’s

employment. In addition, shift leaders and supervisor employees were able to discipline

Mr. Leonard and recommend his termination, with such recommendations being

typically followed by Mr. Naber.

         93.   In the alternative, Mr. Naber regarded Mr. Leonard as being disabled.

         94.   On or about February 1, 2017, Mr. Leonard’s shift leader accused Mr.

Leonard of incorrectly preparing the bread used in the restaurant.

         95.   Mr. Leonard had not received this accusation before the incident with Mr.

Naber on or about January 30. Mr. Leonard showed the shift leader that, in fact, the bread

had been made according to DA guidelines.



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       96.    On or about February 5, 2017, a customer asked for a different type of

sandwich after the customer placed his or her order.

       97.    The shift leader accused Mr. Leonard of not “fixing the sandwich right” and

sent Mr. Leonard home before the end of his scheduled shift. The shift leader’s decision

to send Mr. Leonard home early for allegedly making one incorrect sandwich was a far

more severe punishment than Sandwich Artists would ordinarily receive.

       98.    Finally, on or about February 11, 2017, the Bland Subway restaurant was

particularly busy.

       99.    Mr. Leonard prepared sandwiches within an acceptable amount of time. Mr.

Leonard, due to his disability, is not always able to make sandwiches as quickly as others,

particularly in stressful situations.

       100.   However, the time Mr. Leonard took to prepare sandwiches that day did not

significantly impair the operation of the restaurant. The shift leader accused Mr. Leonard

of “not doing his job fast enough.”

       101.   The incidents of February 1, 5, and 11, 2017, had Mr. Naber and other

supervisory employees believed Mr. Leonard’s “work performance issues” been related to

his disability, Mr. Naber and others had an affirmative duty to engage in the interactive

process with Mr. Leonard.

       102.   Due to Mr. Naber perceiving Mr. Leonard’s CP as a disability, Mr. Naber

had an affirmative duty to inquiry whether Mr. Leonard needed reasonable

accommodations.

       103.   Mr. Naber, nor other supervisory employee at Naber Subway or DA,

inquired whether Mr. Leonard needed accommodation(s) and did not engage in the

interactive process to determine the need for accommodation(s).



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       104.   On or around February 10, 2017, after suffering indignities and unfounded

disciplinary actions by his supervisors, Mr. Leonard was constructively discharged from

his employment at Naber and DA.

       105.   Mr. Leonard submitted a two-week notice resignation but was terminated

immediately after submitting his notice.

       106.   Naber Subway and DA would not have created an objectively intolerable

working environment, prompting Mr. Leonard’s constructive discharge, nor taken other

discriminatory and retaliatory actions against him but for his disability and/or need for

reasonable accommodations.

       107.    Indeed, Mr. Leonard’s constructive discharge from employment occurred

under circumstances that raise a reasonable inference of unlawful discrimination and

retaliation based upon his disability and/or requests for accommodations.

       108.   Naber Subway and DA’s working conditions that precipitated Mr.

Leonard’s constructive discharge were pretextual and directly related to Naber Subway

and DA’s intent to discriminate and retaliate against Mr. Leonard due to his disability

and/or need for reasonable accommodations.

       109.    As a direct and proximate result of Naber Subway and DA’s actions, Mr.

Leonard has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

       110.    At all times material hereto, Naber Subway and DA engaged in unlawful or

discriminatory practices with malice or reckless indifference to the federally protected

rights of Mr. Leonard so as to support an award of punitive damages.




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         111.     The above-described acts by Naber Subway and DA and employees of

Naber Subway and DA constitute disability discrimination and retaliation in violation of

the ADA.

                Count III: Discrimination and Retaliation in Violation of
                  Genetic Information Nondiscrimination Act of 2008

         112.    Plaintiff incorporates by reference herein the preceding paragraphs of this

Complaint.

         113.    Plaintiff is a qualified individual with a disability, to-wit, mild Cerebral

Palsy. Plaintiff was diagnosed with this disability at age 13, but like had it since at or before

birth.

         114.     CP is a brain injury or malformation that occurs prior to or at birth. CP is a

chronic, permanent condition that affects major life activities, such as walking, talking, or

thinking, due to loss of body movement control, muscle control, muscle coordination,

muscle tone, reflex, posture and balance.

         115.    CP can also impact fine motor skills, gross motor skills and oral motor

functioning.

         116.    CP is known to have, at least in part, a genetic origin.

         117.    CP is a disease or disorder to manifest from a genetic origin, such that

individuals with CP are protected from discrimination and retaliation under GINA.

         118.    On or about January 30, 2017, Mr. Naber was visiting the Bland, Virginia

Subway location where Mr. Leonard worked.

         119.    On or about that day, Mr. Naber had become aware that Mr. Leonard had

mild CP. Mr. Naber, without warning, summoned Mr. Leonard into the dining room of

the Bland Subway restaurant from behind the sandwich station.




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         120.   In front of customers, Mr. Naber loudly exclaimed, “[Tyler], I hear you have

[CP].”

         121.   Mr. Naber, and other supervisory employees, discriminated and retaliated

against Mr. Leonard due to his CP.

         122.   Mr. Leonard received various verbal and written reprimands for allegedly

incorrectly preparing bread and building sandwiches for customers.

         123.   Such verbal and written reprimands were pretextual, as Mr. Leonard

performed his job duties to the legitimate business expectations of Naber Subway and DA.

         124.   Mr. Leonard was also required to take a test and receive a perfect score that

no other employee without a genetically-based disease or disorder was required to take.

         125.   On or around February 10, 2017, after suffering indignities and unfounded

disciplinary actions by his supervisors, Mr. Leonard was constructively discharged from

his employment at Naber and DA.

         126.   Mr. Leonard submitted a two-week notice resignation but was terminated

immediately after submitting his notice.

         127.   Naber Subway and DA would not have created an objectively intolerable

working environment, prompting Mr. Leonard’s constructive discharge, nor taken other

discriminatory and retaliatory actions against him but for his disability and/or need for

reasonable accommodations.

         128.    Indeed, Mr. Leonard’s constructive discharge from employment occurred

under circumstances that raise a reasonable inference of unlawful discrimination and

retaliation based upon his disability and/or requests for accommodations.

         129.   Naber Subway and DA’s working conditions that precipitated Mr.

Leonard’s constructive discharge were pretextual and directly related to Naber Subway



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and DA’s intent to discriminate and retaliate against Mr. Leonard due to his disability

and/or need for reasonable accommodations.

        130.   As a direct and proximate result of Naber Subway and DA’s actions, Mr.

Leonard has suffered and will continue to suffer pecuniary loss, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other non-pecuniary loss.

        131.   At all times material hereto, Naber Subway and DA engaged in unlawful or

discriminatory practices with malice or reckless indifference to the federally protected

rights of Mr. Leonard so as to support an award of punitive damages.

        132.   The above-described acts by Naber Subway and DA and employees of

Naber Subway and DA constitute disability discrimination and retaliation in violation of

GINA.


        WHEREFORE, Plaintiff Justin Tyler Leonard prays for judgement against

Defendants Naber Subway, Inc. and Doctor’s Associates, Inc. d/b/a Subway IP, Inc.,

d/b/a Subway and for equitable relief, compensatory, punitive damages, together with

prejudgment interest from the date of termination of Mr. Leonard’s employment, and for

costs and attorneys’ fees, and for such other and further relief as may be just and

equitable.




TRIAL BY JURY IS DEMANDED.


                                   Respectfully submitted,

                                   /s/ Thomas E. Strelka
                                   Thomas E. Strelka, Esq. (VSB# 75488)
                                   L. Leigh R. Strelka, Esq. (VSB # 73355)
                                   N. Winston West, IV, Esq. (VSB # 92598)




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